
IN this cause, heard the day of September, 1794, the court decreed so much of a debt, secured by bond in i 777, as appeared to have become due for dealings in preceding years, to be paid, without being reduced according to the scale of depredation, established by the act of general assembly, passed in the november session of 1781, or according to any other scale; that statute, in the last section thereof, being understood to have authorized an examination into the origin of the demand, and a rejection of the scale, and the substitution of some other mode of adjustment more equitable, where that shall be discovered to have graduated the decrement in value of paper money in particular cases inadequately;* and the value of paper money, during the period of dealings between the plaintiffs and the testator of the defendent before the statutory period of depretiation began, not being shewn to have been less than the value of money current at this time.

[* By the statute, in case of tender and refusal, or of non-payment caused by the creditor, or where “ other circumstances” would in the opinion of the Court make the statutory table unjust, the Court may award such judgment as may seem just and equitable. 10 Hen. Stat. 473. — 234.]

